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 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                         EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                   CR.S. No. 2:11-CR-275 JAM
13                            Plaintiff,
14                                                 STIPULATION AND ORDER TO
                   v.                              MODIFY CONDITIONS OF
15                                                 PRETRIAL RELEASE
16   PABLO VASQUEZ,
17                Defendant
18
19         The defendant, Pablo Vasquez, was released on conditions that included posting a
20   secured bond in the amount of $150,000 secured by the equity in two properties owned
21   by the defendant’s father, Pomposo Vasquez.           Zillow.com placed a value of
22   approximately $80,000 for each property. Subsequent real estate appraisals on the
23   proffered properties have revealed that their combined value is $97,000.
24         IT IS HEREBY STIPULATED by and between Assistant United States Attorney
25   Todd Pickles, counsel for plaintiff, and David D. Fischer, counsel for Pablo Vasquez,
26   and Becky Fidelman, Pretrial Services Officer, that with regard to defendant Pablo
27   Vasquez only, that the requirement that Mr. Pablo Vasquez post a secured bond in the
28   amount of $150,000 secured by real property of Pomposo Vasquez be reduced to the



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 1   amount of $97,000 secured by real property of Pomposo Vasquez. The amount of
 2   $97,000 represents the combined appraised value and all of the available equity in both
 3   properties being proffered. Since the secured amount is being reduced to $97,000, it is
 4   further agreed that the defendant and his father, Pomposo Vasquez, will execute an
 5   additional unsecured bond in the amount of $53,000 to make the combined amount of
 6   secured and unsecured appearance bonds equal $150,000.
 7         Lastly, it is agreed that the time to post the bonds be extended to Friday, August
 8   5, 2011.
 9                                                         Respectfully submitted,
10
11   Dated: July 26, 2011                                  /s/ David D. Fischer
12                                                         DAVID D. FISCHER
                                                           Attorney for Defendant
13                                                         PABLO VASQUEZ
14
15   Dated: July 26, 2011                                  /s/ Todd Pickles
                                                           TODD PICKLES
16
                                                           Assistant United States Attorney
17                                                         Counsel for Plaintiff
18
     Dated: July 26, 2011                                  /s/ Becky Fidelman
19                                                         BECKY FIDELMAN
                                                           Pretrial Services Officer
20
21         As indicated by the parties, the bond itself remains in the amount of $150,000;
     however, the amount of the bond need only be secured up to the amount of $97,000.
22
     IT IS SO ORDERED
23
24
25   Dated: August 1, 2011                       /s/ Gregory G. Hollows
26                                               HON. GREGORY G. HOLLOWS
27                                                 Magistrate Judge
28



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